Case 15-31086 Document 1355 Filed in TXSB on 04/05/18 Page 1 of 3

UNITED STATES BANKRUPTCY COURT
SOUTI-H`.RN AND WESTERN DISTRICTS OF TEXAS

 

 

HOUSTON DIVISION
IN RE: §
University General Health § CASE NO. 15-31086
System, Inc., et al. ' § CHAPTER 11
§
§

DEBTOR

ll

CHAPTER 11 POST-CONFIRMATION REPORT
FOR THE QUARTER ENDING SEPTEMBER 30, 2017

AMENDED
Quarterly or Final (check one)

2. SUMMARY OF DISBURSEMENTS*:

A.
B.

Disbursements made under the plan (itemize on page 3) $ 0.00
Disbursements not under the plan $ 350,367.43
Total Disbursements $ 350,3 67.43

*ALL D!SBURSEMENTS MADE BY THE REORGANIZED DEBTOR, UNDER THE PLAN OR OTHERWISE, MUST BE
ACCOUNTED FOR AND REPORTED HEREIN FOR THE PURPOSE Olj` CALCULATING THE QUARTERLY FEES.
Has the order confirming plan become iinal? -Yes ENo

Are Plan payments being made as required under the Plan? -Yes ENo

If "No", what Plan payments have not been made and why?
Please explain:

 

 

 

If plan payments have not yet begun, when will the first plan payment be made? (Date)
What date did the reorganized debtor or successor of the debtor under the plan assume the business or management of the
property treated under the plan‘l February 4, 2016 (Date)

Please describe any factors which may materially affect your ability to obtain a final decree at this time.

 

 

 

10.

Complete the form for Plan Disbursements attached.

 

CONSUMMATlON OF PLAN:
A. If this is a final report, has an application for Final Decree been submitted*? INIT[ALS
Yes Date application was submitted _
DATE
ENo Date when application will be submitted UST USE ONLY
*(if required by Local Rule)

 

 

 

B. Estimated Date of Final Payment Under Plan Undetermined

I CERTIFY UNDER PENATLY OF PERJURY THAT THE ABOVE INFORMATION IS TRUE AND CORECT TO THE

BESTOF ` nw .., ,
~- \\ DATE; N.l\§/U'S/

 

Case 15-31086 Document 1355 Filed in TXSB on 04/05/18 Page 2 of 3

 

 

 

 

IN RE: Universitv General Health Svstem. Inc. CASE NO. 15-31086
CURRENT CONFIRMATION
CASH RECEIPTS AND DISBURSEMENTS QUARTER T 0 DATE
CASH-BEGINNING OF QUARTER 2,160,720.12 0.00
RECEIPTS 9 936.15

   
 

 

 

 

 

 

 

 

 

 

 

 

NET PAYROLL 0.00 0.00
PAYROLL TAXES PAID 0.00 0.00
SECURED/RENTAL/LEASES 0.00 0.00
UTILITIES 0.00 0.00
lNSURANCE 0.00 394,892.84
INVENTORY PURCHASES 0.00 0.00
VEHICLE EXPENSES 0 0.00 0.00
TRAVEL & ENTERTAINMENT 0.00 0.00
REPAIRS, MAINTENANCE & SUPPLIES 0.00 0.00
ADMINISTRATIVE & SELLING 350,367.43 1,187,629.61
OTHER (attach list) 0.00 0.00

PLAN PAYMENTS (page 1 and page 3) 0.00 1,461,527.95

 

TOTAL DISBURSEMENTS (this figure should equal Total disbursements, Item 2,

 

 

 

 

 

 

Summary of Disbursements) 350’367`43 3’044’050`40
NET CASH FLOW 606,568.72 2,767,288.84
CASH-END OF QUARTER , 2,767,288.84 2,767,288.84

 

CASH ACCOUNT RECONCILIATION FOR ALL FUNDS
QUARTER ENDING

Month/Year Month/Y ear Month/Year

    

Bank Balance 422.99 720 402.60 720 .84
in Transit 51 .00
Checks 5 .00 5 .00 5 000,00 5
Balance 422.99 715 402.60 767 .84 2,767,238
Cash-Per Books 160 720.12 771 737.99 715 402.60 160 720.
630 177.87 274 04 51 4 1
Transfers Between Accounts 0.

Checks/Other Disbursements 19 160 .00 331 .43 350 7.4

Cash-Per Books 771 737.99 715 402.60 767 .84 2,767,288

STATEMENT OF CASH RECElPTS AND DISBURSEMENTS

Month/Year Month/Year Month/Y ear
JUL-2017 AUG-2017 SEP-2017

160 720.12 771 737.99 715 402,60
Total 630 177.87 274 04 51 4
Total Disbursements 19 160.00 331 .43

 

Cash 771 737.99 715 402.60

Case 15-31086 Document 1355 Filed in TXSB on 04/05/18 Page 3 of 3

lN RE:
University General Health System, Inc.

 

CASE NO. 15-31086

DEBTOR.

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PAYMENTS TO CREDITORS UNDER THE PLAN

CURRENT
QUARTER

HARRIS COUNTY TAX
UPSHOT SOLUTIONS
BLUE CROSS/BLUE SHIELD

AL PLAN PAYMENTS: (report on page 1 and page 2)

CONFIRMATION
TO DATE

985 705.
37 710.
438 111.1

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1,461,527.95

 

